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                                         IN THE CIRCU IT COU RT O F TH E 11th
                                         JUD ICIA L CIRCU IT,IN A ND FO R
                                         M IA M ID AD E CO UN TY ,FLO RID A

                                        DIV ISION :CRIM IN A L

   PLAINTIFFIS)NAM ES                   CASE NO.:
                                         19-cv-25051-Gayles/Otazo-ReyesFILED BY         , ' D.C.
         Sobers Brooks
                V                                                             2E2 29 2218
   DEFENDANTIS)NAM ES                                                         CALN
                                                                                 EG
                                                                                  AB
                                                                                   KLJS
                                                                                      E.jo
                                                                                         Syg.n
                                                                              s.o.thFFukr-MIAMI
   Renita Henry,Esq., Em ily Phillips,
   Judge ScottB elmstein,Judge D eborah N abatFrankel


                                         C O M PLA IN T
         Com enow SobersBrooks,Plaintiff,and bringsthisaction fordam agesagainstthe Defendants

  Renita Henry,Em ily Phillips,Judge Deborah N abatFrankeland Judge ScottBernstein and in support

  hereofwould respectfully show unto theCourtthefollowing factsand matters,to-wit:

         1.Plaintiff is a residentof the State of Delaware,w hose address is 2 W arwick Lane,New

   Castle,DE 19720.

         2.Defendant,RenitaHemy (FL Bal'//88653),isanadultresidentoftheStateofFlorida.Said
   defendantm aybefound fortheserviceofprocessatherlaw officelocated at500 EastBrowardBlvd.,

   Suite 1710,FortLauderdale,FL 33394,which islocated in Broward County,Florida. Further,the

   causeofactionwhichisthesubjectofthissuitoccurredandaccrued inM iamiDadeCounty,Florida.
          3.Defendant,EmilyPhillips(FL Bal 597961),isan adultresidentoftheStateOfFlorida.
   Saiddefendantm aybefound fortheserviceofprocessatherlaw officelocated at2 BiscayneBlvd.,

   Suite2300,Miami,FL 33131.Further,thecauseofactionwhichisthesubjectofthissuitoccurred
   and accrued in M iam iDade County,Florida.
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*




                4.Defendant,GeneralM agistrate Deborah NabatFrankel, isan adultresidentofthe State
      ofFlorida.Said defendantm ay be found forthe service ofprocessatLaw son E. Courthouse,Room

      CHC 1626,CircuitFam ilyM attersDivision, l75 N W 1StAvenue,M iam i, FL 33128.

                5.Defendant,Judge Scott Bem stein,is an adult resident of the State of Florida. Said

      defendantm ay befound forthe serviceofprocessatLaw son E . Courthouse,Room CH C 2815,Circuit

      Fam ily Division,175 N W 1stA venue, M iam i,FL 33128.

                                            C AU SE O F A CT IO N
      COUN T I- Fraud and N egligence
      (againstDefendantattorneyRenitaHenry)
                6.ln April20l8,D efendantundertook to provide legalservices fbrPlaintiffin connection

      with FLOY D v.BRO OK S,hereinafter S'LegalM atter''. Atalltim es Defendantheld herself outas

      com petentin the area of1aw dealing with the legalm atterforw hich Plaintiffretained the selwices of

      Defendant.Plaintiffand Defendantacted underan atlorney/clientrelationship in which Defendant

      undertook to representPlaintiff.

               7.D efendantw asrequired to exercise the sam e legalskillas a reasonably com petent

      attorneyand to usereasonable care in determ ining and implem enting a strategyto be followed to

      achievethe Plaintiff'slegalgoals. Detkndanthad aduty to usesuch skill, prudence,and

      diligence as m em bersofthe legalprofession com m only possess and exercise, in providing legal

      servicesto Plaintiffherein.

             8.In thecourse ofhandling thelegalmatterforthePlaintiff, Defendantnegligently failed to

     actwith thedegree ofcom petencegenerally possessed by Attorneysin the StateofFloridaw ho handle

     legalm atters sim ilarto the Plaintiff's. Plaintiffpaid Defendantan am ountofm oney asagreed upon

     forthesolepurposeofrepresentingPlaintiffinsaid legalmatter.

             9.Defendantfailed to explain tothePlaintiffthatabreach wascomm itted whilegenerating
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   theCSI.M andatoryRetirem entpayments, State and City taxes were rem oved from the CSlas

   salary deductionsand ultim ately included asincom e. PerFlol
                                                              idaStatue61.30,par2(a)(d),the
  referenced item sshould becalculated asdeductionsandnotincom e.

          10.O n D ecem ber 17,2018,in an em ailto opposing counsel, Em ily Phillips,the defendant

  stated (t1can attach a draftofm y guidelinesthatare stillnotcom pletely accurate because Ihave to

  add in the tax m y clientpays for localtaxes in D elaw are''. Thus,acknowledging the actoffraud

  through the breach of Florida Statue 61.30,par2(a)(d).Defendantrefusedto correctand choseto

  w ithdraw on January 8,2019 from providing further representation to Plaintiff. D efendantfurther

  stated thata decision w as already m ade regarding the outcom e ofm y case and there would be no

  discussion on m y pal't.A ccording to the Code ofJudicialConduct, ajudgeshallaccordto every

  person who has a legalinterestin a proceeding, or that person's lawyer, the right to be heard

  according to law and as such the latterstatem entw ould violate that.

          l1.On Decem ber2 1,2018,an em ailto opposing counsel, Em ily Phillips,defendant stated

  $;M r.Brookshas indicated thathe doesnotagreeto thetemporary $850 numberthatwe came to

  as a com prom ise to resolve the hearing. He w ill not execute the stipulation. There are now

  irreconcilable differences between m y client and I and 1 will be w ithdrawing from the case

  im m ediately.Iapologize for any inconvenience and willcooperate to assistin helping you getan

  im m ediate reset date untilm y Order on w ithdrawalis signed.ûtThe defendant m isrepresented a

  m aterialfactin orderto obtain action orforbearance by the plaintiff.

         12. D efendant intentionally deceived the court, as, through m anufacturing of false

  docum ent and passing it off as genuine. A s such, this represents an unconscionable schem e

 calculated to interfere with the judicial system'sability to impartially adjudicate a matter by
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  improperly intluencing the trier of factor unfairly ham pering the presentation ofthe opposing

  party'sclaim ordefense.''Aoudev.MobilOilCorp.,892F.2d l115,1l18(1stCir.1989).
  CO UN T 11- Fraud
  (againstDefendantattorneyEmilyPhillips)
          l3.Defendantactsconstituted conductbelow thestandardsofthe legalprofession and

  individually and/orcollectively perpetrated a (ischem e to defraud''the plaintiff.

          14.On D ecem ber 17,2018,defendantwasinfonned by M s.Renita Henry through an em ail

  thatstated,tûIcan attach a draflofm y guidelinesthatare stillnotcom pletely accurate because l

  have to add in the tax m y clientpaysforlocaltaxesin D elaw are''.Defendantfailed to respond

  and as such collaborated to com m itfraud.

          15.Defendantwasinfonned by Plaintiffatthe tlnalhearing regarding the om itted item s

  from theCS1whichisabreachofFloridaStatue6l.30,par2(a)(d)andrefusedtoeffect
   corrections.

   COUN T I1I- Fraud
  (againstDefendantGeneralMagistrateJudge
  Nabat-Frankel)
          16.O n Decem ber28,2018 atthe tem porary child supporthearing,defendantknow ingly

   tamishedthejudiciarymachinerybycreatingafraudulentdocuments(CSl)andenforcedanlling
   baseduponsaidact.DefendantactprovidedabreachofFloridaStatue61.30,par2(a)(d).
           17.Defendantgeneratedan1W O (lncomeW ithholdingOrder)thzoughtheperpetrationof
   biasandunjustacts,evenwhilebeingremindedbytheplaintiff.Defendantactsconstituted
   conductsbelow the standardsofthe legalprofession and individually and/orcollectively

   pem etrated a isschem e to defraud''the plaintiff

           18.D efendantw as inform ed by Plaintiff atthe tem porary Child SupportHearing regarding

   the fraudulentact.Defendantrefused to correctsaid document,while stating thatthis wasjust
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  temporary and thatthe corrections would be made atthe Finalhearing by Judge ScottBem stein.

  Defendantm ade calculationsforarrearsbased upon said fraudulentdocum ents.

         19.Defendantintentionally deceived the court,through manufacturing of falsedocument

  andpassing itoffasgenuineand heractionwastaken withûcdeliberateindifferenee.''

             Defendantbeing a judge who received information orhas actual know ledge that
  substantiallikelihood exists thata law yer has com m itted a violation,should m ake reportofsaid

  violation as perthe Code ofConductforUnited State Judges,Canon 3.Plaintiff informed the

  Defendantregarding fraud in theitl-egalM atter''and no action wastaken.

  CO UN T IV - Fraud
  (againstDefendantHonorableJudgeScottM .
  Bernstein)
         21.Defendantwasinform ed by Plaintiffregarding the om itted item s from the C Sland also

  aboutthatwhich w as said atthe tem porary hearing by Judge D eborah N abatFrankel.D efendant

  seem ed quite oblivioustowhatwassaid by Judge DeborahN abatFrankel.

         22.D efendantrefused to requestthat the necessary changes be m ade prior to effecting a

  judgementuponthecase.DefendantadvisedthePlaintiffthatheshould fileforare-hearing.
          23.D efendant acts constituted conducts below the standards of the legalprofession and

   individually and/orcollectively caused fraud and hisactionwastakenwithd:deliberateindifference.''

          23.Defendantbeing a judge who received information or has actualknowledge that
   substantiallikelihood existsthata lawyerhascom mitted a violation,should m ake reportofsaid

   violation as per the Code of Conduct for U nited State Judges,Canon 3.Plaintiff inform ed the

   D efendantregarding fraud in the tslsegalM atter''and no action w astaken.

          Plaintiffisinformed and believes,and thereon allege,thatthe Defendantsare responsible

   fortheiractsandom issionswhichdamagedPlaintiff,and thatPlaintiff'sdam agesasallegedherein
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  wereproximately causedbytheactionsandomissions.Judicialmisconductoceurswhenajudge
  actsinwaysthatareconsideredunethicalorotherwiseviolatethejudge'sobligationsofimpartial
  conduct.Actionsthatcanbeclassifiedasjudicialmisconductinclude,conductprejudicialtothe
  effective and expeditious administration of the business ofthe courts (an example would be

  ûûfalsiticationoffacts''atsummaryjudgement).
         Trialcourtspossessauthority underRule 1.540(b)to hearevidence when allegation of
  fraud is raised. To be entitled to an evidentiary hearing, a m otion m ust plead fraud with

  particularity and a basis for reliefshow ing w hy the proceedings should be setaside.Defendants

  created,executed, and filed fraudulent docum ents in the coul'
                                                               t which pup orts to defraud the

  Plaintiff.    denial of a Rule 1.540(b) motion without an evidentiary hearing would be
   autom atically an abuse of discretion as a m atterof law .See Schleger v Stebelskv,957 So.2d 71

   (F1a.4''DCA 2007);Stcllav.Stella,418So.2c11029(Fla.4''DCA 1982)4Robinsonv.W eiland,

   936So.2d777(F1a.5*DCA 2006).
          W HEREFORE,PREMISES CONSIDERED,ThisCourthavingjurisdiction ofthismatter
   undertheprovisionofCodeofJudicialConduct(Canon 3),FLA.R.Civ.P.1.540(b)andFlorida
   Statue l12,Part 111, grants a Relief from Judgem entand /or Order w ith civil m oney penalty for

   compensatorydamages,togetherwithpre-judgmentandpost-judgmentinterestsanda1lcostaccrued
   herein.Forsuchotherandfurtherreliefastocourtseemsjustinpremises.'T'heactoffraudmakesthe
   defendantslegally obligated toredresstheinjury and/orlosscausedtotheplaintiffbytheviolation.
                                      CER TIFICA TE O F SERV IC E

   IT IS HEREBY CERETIFIED thata true and correctcopy ofthisdocum enthasbeen m ailed to

   defendants Renita Henry,Em ily Phillips,Nabat Frankel and Scott Bernstein plaintiff at the

   addressesincluded in this m otion on D ecem ber9,2019.

                                                Respectfully subm itted,
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                                      '
                                           (.
                                            '
                                            ,


                                     Plaintiff
                                     SobersBrooks
                                     2 W arw ick Lane,
                                     N ew Castle,D E 19720
                                     T.(954)560-1499
